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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 13-785V
                                          (Not to be published)

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                             *
JAMES J. COTNER,             *                                            Filed: January 28, 2015
                             *
                 Petitioner, *
                             *                                            Decision by Stipulation; Damages;
           v.                *                                            Attorneys’ Fees and Costs;
                             *                                            Influenza (“Flu”) Vaccine;
SECRETARY OF HEALTH AND      *                                            Guillain-Barrè Syndrome (“GBS”)
HUMAN SERVICES,              *
                             *
                 Respondent. *
                             *
*****************************

Douglas Lee Burdette, Burkett & Burdette, Seattle, WA, for Petitioner.

Alexis Babcock, U.S. Dep’t of Justice, Washington, DC, for Respondent.

      DECISION AWARDING DAMAGES AND ATTORNEYS’ FEES AND COSTS1

        On October 9, 2013, James Cotner filed a petition seeking compensation under the
National Vaccine Injury Compensation Program.2 Petitioner alleges that as a result of receiving
the influenza vaccine on October 7, 2010, he suffered from Guillain-Barrè syndrome, and that he
experienced the effects of this injury for more than six months.

       Respondent denies that Petitioner’s injuries were caused-in-fact by the influenza
vaccination, and denies that the vaccine caused any other injury or his current condition.

1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
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Nonetheless both parties, while maintaining their above-stated positions, agreed in a stipulation
(filed January 14, 2015) that the issues before them can be settled and that a decision should be
entered awarding Petitioner compensation.

        In the same stipulation, the parties also indicated that they had reached an agreement
regarding attorneys’ fees and costs. The stipulation laid out the amount of compensation that
should be awarded to Petitioner’s attorney, in a check made payable jointly to Petitioner and
Petitioner’s counsel. In compliance with General Order #9, the stipulation also stated that no out-
of pocket litigation related costs have been incurred by Petitioner in proceeding on the petition.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation (as attached hereto) is reasonable. I therefore adopt it as my decision in awarding
damages on the terms set forth therein.

        The stipulation awards:

              A lump sum of $150,000.00 in the form of a check payable to Petitioner. This
               amount represents compensation for all damages that would be available under 42
               U.S.C. § 300aa-15(a); and

              A lump sum of $7,961.81 in the form of a check payable jointly to Petitioner and
               Petitioner’s attorney, for attorneys’ fees and costs available under 42 U.S.C. §
               300aa-15(e).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.3


        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.

                                                      2
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